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                EXHIBIT 5
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USN

«Barcode»
Postal Service: Please do not mark barcode
Claim#: USN-«ClaimID»
«First1» «Last1»
«Addr1» «Addr2»
«City», «St» «Zip»
«Country»

                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA
                                          Civil Action No. 16-745 ESH
                                               OPT-OUT FORM

        THIS DOCUMENT MUST BE POSTMARKED NO LATER THAN JULY                                         , 2017.
If you DO NOT want to be included in the Class, you must complete this form in its entirety, print and sign
the form, and mail it to:

             PACER Fees Class Action Administrator, P.O. Box 43434, Providence, RI 02940-3434

            The Court will exclude you from the class if your request to be excluded is postmarked by
                                               July       , 2017.

By my signature below, I confirm that I have received, read, and understood the notice of the PACER Fees Class
Action lawsuit, and that I have decided to exclude myself from the Class. I understand that by doing so, I will
not receive any money or benefits from this lawsuit even if the Plaintiffs obtain them as a result of a court ruling
or from any settlement (that may or may not be reached) between the Plaintiffs and the United States
government.

I wish to be excluded from the class described in the class notice and I DO NOT want to participate in this class
action lawsuit.


If you are opting out on behalf of an entity (e.g., a company or law firm), please provide that entity’s legal name.



Signature                                             Full Name


Entity Name, if opting out on behalf of an entity (e.g., company, law firm)

____________________________________________________________________________________
Mailing Address


Phone Number                                          Email Address
